                                         Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 1 of 15




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6                                           SAN JOSE DIVISION

                                   7
                                        In re FINISAR CORPORATION
                                   8    SECURITIES LITIGATION                                Case No. 5:11-cv-01252-EJD

                                   9                                                         ORDER DENYING MOTION FOR
                                                                                             CLASS CERTIFICATION
                                  10
                                                                                             Re: Dkt. No. 131
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Lead Plaintiff, the Oklahoma Firefighters Pension & Retirement System (“Plaintiff”),

                                  14   brings this putative securities fraud class action against Defendants Finisar Corporation

                                  15   (“Finisar”), Eitan Gertel, and Jerry S. Rawls (collectively, “Defendants”), alleging that Defendants

                                  16   issued a single false or misleading statement on December 2, 2010, denying an inventory build-up

                                  17   of Finisar’s key telecom products by the Company’s customers. Presently before the Court is

                                  18   Plaintiff’s motion for class certification. The Court finds it appropriate to take the motion under

                                  19   submission for decision without oral argument pursuant to Civil Local Rule 7-1(b). Having

                                  20   considered the parties’ papers and for the reasons explained below, Plaintiff’s motion for class

                                  21   certification is denied.

                                  22                                            I.   BACKGROUND
                                  23           Plaintiff brings this action on behalf of itself and a class of all persons and entities who

                                  24   purchased or otherwise acquired the common stock of Finisar between December 2, 2010 and

                                  25   March 8, 2011 (the “Class Period”). SAC ¶ 1. Finisar is a technology company that “develops

                                  26   and sells fiber optic subsystems and components that enable high-speed voice, video and data

                                  27   communications for telecommunications, networking, storage, wireless and cable television

                                  28                                     1
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                         Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 2 of 15




                                   1   applications.” Id. ¶ 2. Gertel served as Chief Executive Officer (“CEO”) and a director of Finisar

                                   2   from August 2008 to September 2015. Id. ¶ 23. Plaintiff alleges that during the Class Period,

                                   3   Gertel made over $5.17 million by selling 201,913 shares of his Finisar stock at artificially inflated

                                   4   prices. Id. ¶¶ 23, 74-75. Rawls has served as Chairman of the Board of Finisar since 2006 and

                                   5   was appointed CEO in September 2015. Id. ¶ 24.

                                   6          Prior to the Class Period, Finisar experienced six consecutive fiscal quarters of revenue

                                   7   growth, which Plaintiff alleges was driven primarily by sales of its wavelength selective switches

                                   8   (“WSS”) and reconfigurable optical add/drop multiplexers (“ROADM”) linecard telecom

                                   9   products. Id. ¶¶ 30-33. Plaintiff alleges that during this phase of growth but prior to the Class

                                  10   Period, analysts in the industry “suspected that this growth was driven by customers building-up

                                  11   inventory rather than purchasing Finisar products for immediate use in production.” Id. ¶ 3.

                                  12   Plaintiff contends that Finisar did not affirm nor deny the inventory build-up suspicions during
Northern District of California
 United States District Court




                                  13   this time, and as a result, “Finisar’s stock price remained relatively consistent over the course of

                                  14   the six-quarters of record-growth.” Id. ¶ 36.

                                  15          Plaintiff alleges that on December 2, 2010, Finisar’s then-CEO, Gertel, “participated in the

                                  16   Credit Suisse Technology Conference call with analysts, media representatives, and investors.”

                                  17   Id. ¶ 62. During this call, an analyst from Credit Suisse named William Stein allegedly

                                  18   highlighted that Finisar had “significantly outgrown [its] end markets for the last six quarters” and

                                  19   raised the fear that the company’s growth “is going to revert.” Id. Mr. Stein then asked, “Can you

                                  20   help us understand how it’s possible for the company to not only sustain that [growth] but

                                  21   continue to grow faster than the end markets?” Id. In response, Gertel allegedly provided the

                                  22   following explanation:

                                  23                  So if you look at the market, you see the fundamentals for growth
                                                      are there. People need more higher bit rate products, more
                                  24                  sophisticated products to address the cost reduction that the network
                                                      needs and the demand continues.
                                  25
                                                      As far as we know we haven’t seen any inventory issues with our
                                  26                  product with our customers. Our product—our business is 60/40,
                                                      basically 40% is LAN/SAN business, 60% is telecom. On the
                                  27                  LAN/SAN side, by far the majority of our sales is a vendor-
                                  28                                     2
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                         Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 3 of 15



                                                      managed inventory. So we have visibility to what people have.
                                   1                  There is no reason for them to have inventory because we own the
                                                      inventory. So we’re pretty safe with that.
                                   2
                                                      And on the telecom side, look, there can be one or two guys who try
                                   3                  to build their own inventory, but by far the majority of the customers
                                                      expediting products and doesn’t look to us, not visible to us at all, all
                                   4                  these quarters if they are building any inventory.
                                   5   Id.

                                   6          The same day Gertel made this statement, Finisar’s common stock increased $3.29 per

                                   7   share (or 16.64%), going from $19.77 per share on December 1, 2010, to close at $23.06 per share

                                   8   on December 2, 2010. Id. ¶¶ 13, 63. The following day, on December 3, 2010, the price per share

                                   9   increased another $0.95 (or 4.12%). Id. ¶ 63. Plaintiff alleges that Finisar’s stock price continued

                                  10   to rise in this manner throughout the Class Period, reaching a Class Period high of $43.23 per

                                  11   share on February 14, 2011. Id. ¶¶ 63, ¶ 77.

                                  12          But on March 8, 2011, Finisar issued a press release indicating that its fourth quarter
Northern District of California
 United States District Court




                                  13   revenues would be lower than projected due in part to “the previously undisclosed inventory

                                  14   build-up at some of the Company’s telecom customers and a slowdown in business in China.”

                                  15   Id. ¶ 78. The press release read, in relevant part:

                                  16                  During the fourth quarter ending April 30, 2011, the Company will
                                                      be impacted by the full three months of the annual price negotiations
                                  17                  with telecom customers that typically take effect on January 1, the
                                                      10-day long shutdown at certain customers for Chinese New Year in
                                  18                  February, the adjustment of inventory levels at some telecom
                                                      customers, particularly for products which had previously been on
                                  19                  allocation and long lead times, including WSS and ROADM line
                                                      cards, and a slowdown in business in China overall. Primarily as a
                                  20                  result of these factors, the Company indicated that it currently
                                                      expects revenues for the fourth quarter to be in the range of $235 to
                                  21                  $250 million.
                                  22   Id.¶ 53, 79. The press release was issued after the market closed on March 8, 2011. Id. Rawls

                                  23   also held a conference call the same day to discuss the expected results, and explained the

                                  24   inventory adjustment in this way:

                                  25                   [M]any, many of the people that follow our company have
                                                      speculated for several quarters about double ordering inventory
                                  26                  builds on the part of our customers and we continually responded
                                                      that we asked our customers and they say, “No. We’re buying for
                                  27                  production and we’re not buying for inventory.” Well we have
                                  28                                     3
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                         Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 4 of 15



                                                      clearly learned here in the last month or so from several of them that
                                   1                  all of a sudden surprise, surprise they have some pretty good size
                                                      inventories of wavelength selective switches. And the question is
                                   2                  we don’t really have great visibility into their inventory levels other
                                                      than what they tell us and I, you know, they’re not—we’re not
                                   3                  getting complete information I don’t think.
                                   4   Id. ¶ 54

                                   5          In reaction to the March 8 press release, Finisar’s stock price dropped by $15.43 per share,

                                   6   falling from $40.04 per share on March 8, 2011 to close at $24.61 on March 9, 2011, “marking a

                                   7   one-day decline of nearly 39%.” Id. ¶¶ 6, 68, 81. Plaintiff asserts that Finisar’s stock price has

                                   8   never fully recovered from this decline. Id.

                                   9          Plaintiff contends that Gertel’s December 2nd statement misled investors as to the nature

                                  10   of Finisar’s growth by denying that its revenue increase was the result of a short-term,

                                  11   unsustainable inventory build-up by customers rather than the result of increased demand for

                                  12   Finisar products. Plaintiff claims that the statement misrepresented Finisar’s growth as being “in
Northern District of California
 United States District Court




                                  13   line with” and “not outpacing” the end-market growth, and incorrectly suggested that its “growth

                                  14   would not revert due to an inventory correction after an inventory build-up by customers.” Id. ¶

                                  15   64.

                                  16          Plaintiff alleges that both before and during the Class Period, Finisar would have

                                  17   “necessarily learned about customer inventory and demand during its annual demand and pricing

                                  18   negotiations with customers.” Opp. at 5 (citing SAC ¶¶ 5, 45-50). According to Plaintiff, these

                                  19   negotiations occurred over the course of a three-month period that “concluded before the end of

                                  20   2010,” the results of which were implemented by January 1, 2011. SAC ¶¶ 7, 45, 53, 79. Plaintiff

                                  21   further alleges that an investigation conducted by Lead Counsel, with the assistance of a private

                                  22   investigative firm located in China, “affirm[ed] that inventory levels and the economic slow-down

                                  23   in China were discussed during negotiations with Finisar in 2010.” Id. ¶ 46. Indeed, the SAC

                                  24   identifies confidential witnesses who, according to Plaintiff, were “personally involved in making

                                  25   purchases from Finisar” and confirmed that current volumes and the next year’s projected demand

                                  26   volumes were discussed during annual negotiations at that time. Id. ¶¶ 49-51. From this Plaintiff

                                  27   concludes that Defendants either knew, or were reckless in not knowing, that an inventory build-

                                  28                                     4
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                         Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 5 of 15




                                   1   up existed, and that Finisar’s growth would decline in the upcoming quarters as customers became

                                   2   less concerned about supply constraints and needed to “burn-off existing excess inventory.” Id.

                                   3          Finally, Plaintiff contends that Defendants’ knowledge of the inventory build-up is further

                                   4   supported by their behavior during the Class Period. Specifically, Plaintiff asserts that Defendants

                                   5   capitalized on the rapidly rising stock price by conducting a substantial stock offering that

                                   6   garnered over $118 million in gross proceeds. Id. ¶ 72. Additionally, Gertel himself “sold

                                   7   201,913 shares of his personally held or controlled Finisar stock for gross proceeds of over $5.17

                                   8   million,” which Plaintiff claims was “substantially more than in any previous year.” Id. ¶¶ 73-75

                                   9                                            II.    STANDARDS
                                  10           Rule 23 of the Federal Rules of Civil Procedure governs class certification. Parties

                                  11   seeking class certification bears the burden of affirmatively demonstrating that they have satisfied

                                  12   each of the four requirements of Rule 23(a) and at least one of the requirements of Rule 23(b).
Northern District of California
 United States District Court




                                  13   Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011); Zinser v. Accufix Research Inst., Inc.,

                                  14   253 F.3d 1180, 1186 (9th Cir. 2001), opinion amended on denial of reh'g, 273 F.3d 1266 (9th Cir.

                                  15   2001). Rule 23(a) provides that a class may only be certified if “(1) the class is so numerous that

                                  16   joinder of all members is impracticable; (2) there are questions of law or fact common to the class;

                                  17   (3) the claims or defenses of the representative parties are typical of the claims or defenses of the

                                  18   class; and (4) the representative parties will fairly and adequately protect the interests of the class.”

                                  19   Fed. R. Civ. P. 23(a). In other words, the class must satisfy the requirements of numerosity,

                                  20   commonality, typicality, and adequacy to maintain a class action. Mazza v. Am. Honda Motor

                                  21   Co., Inc., 666 F.3d 581, 588 (9th Cir. 2012).

                                  22          In addition, a party seeking class certification must also “satisfy through evidentiary proof”

                                  23   at least one of the three requirements of Rule 23(b). Comcast Corp. v. Behrend, 569 U.S. 27, 33

                                  24   (2013); Dukes, 564 U.S. at 350. Where a plaintiff seeks certification under Rule 23(b)(3)'s

                                  25   predominance approach, the plaintiff must establish “that the questions of law or fact common to

                                  26   class members predominate over any questions affecting only individual members, and that a class

                                  27

                                  28                                     5
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                           Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 6 of 15




                                   1   action is superior to other available methods for fairly and efficiently adjudicating the

                                   2   controversy.” Fed. R. Civ. P. 23(b)(3).

                                   3          A trial court has broad discretion in making the decision to grant or deny a motion for class

                                   4   certification. Bateman v. American Multi-Cinema, Inc., 623 F.3d 708, 712 (9th Cir. 2010). In

                                   5   making this determination, the court's analysis “must be ‘rigorous' and may ‘entail some overlap

                                   6   with the merits of the plaintiff's underlying claim.’” Amgen Inc. v. Connecticut Retirement Plans

                                   7   and Trust Funds, 568 U.S. 455, 466 (2013) (quoting Dukes, 564 U.S. at 349); see also Mazza, 666

                                   8   F.3d at 588. However, “Rule 23 grants courts no license to engage in free-ranging merits inquiries

                                   9   at the certification stage.” Amgen, 568 U.S. at 466; Ellis v. Costco Wholesale Corp., 657 F.3d

                                  10   970, 983 (9th Cir. 2011). Thus, “[m]erits questions may be considered to the extent—but only to

                                  11   the extent—that they are relevant to determining whether the Rule 23 prerequisites for class

                                  12   certification are satisfied.” Amgen, 568 U.S. at 466. The court must resolve factual disputes as
Northern District of California
 United States District Court




                                  13   “necessary to determine whether there was a common pattern and practice that could affect the

                                  14   class as a whole.” Id. (emphasis in original). “When resolving such factual disputes in the

                                  15   context of a motion for class certification, district courts must consider ‘the persuasiveness of the

                                  16   evidence presented.’” Hatamian v. Advanced Micro Devices, Inc., No. 14-226 YGR, 2016 WL

                                  17   1042502, at *3 (N.D. Cal. Mar. 16, 2016) (quoting Ellis, 657 F.3d at 982). Where a court

                                  18   concludes as a result of its analysis that the moving party has met its burden of proof, then the

                                  19   court may certify the class. Zinser, 253 F.3d at 1186.

                                  20                                          III.    DISCUSSION
                                  21   A. Rule 23(a) Requirements

                                  22          Plaintiff seeks certification of a class of all persons and entities who purchased or acquired

                                  23   the public traded common stock of Finisar during the period from December 2, 2010 through

                                  24   March 8, 2011, inclusive, and were damaged thereby.1 With respect to the requirements for class

                                  25
                                       1
                                  26     Excluded from the Class are (i) Defendants Finisar, Gertel and Rawls, (ii) the officers and
                                       directors of Finisar at all relevant times, (iii) members of Defendants’ immediate families and their
                                  27   legal representatives, heirs, successors, or assigns; and (iv) any entity in which Defendants have or
                                       had a controlling interest.
                                  28                                                       6
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                         Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 7 of 15




                                   1   certification set forth in Rule 23(a), Fed.R.Civ.P., Plaintiff first asserts that the numerosity

                                   2   requirement is satisfied because the Class consists of thousands of similarly situated investors who

                                   3   purchased Finisar common stock at artificially inflated prices during the Class Period. Second,

                                   4   Plaintiff contends that numerous legal and factual questions are common to all Class members.

                                   5   Third, Plaintiff asserts that its claims are typical of the proposed Class. Fourth, Plaintiff represents

                                   6   that it is a sophisticated institutional investor with a significant financial interest in the case and

                                   7   has been committed to overseeing and managing the litigation fairly and adequately to protect the

                                   8   interests of the Class. Defendants do not dispute Plaintiff’s showing with respect to the four

                                   9   requirements set forth in Rule 23(a).

                                  10           After careful examination of the record, the Court finds that Plaintiff’s proposed Class

                                  11   satisfies the numerosity, commonality, typicality, and adequacy requirements to maintain a class

                                  12   action under Rule 23(a).
Northern District of California
 United States District Court




                                  13   B. Rule 23(b) Requirements

                                  14           Plaintiff also asserts that the action satisfies Rule 23(b)(3), Fed.R.Civ.P. According to

                                  15   Plaintiff, Defendants’ alleged misstatements perpetuated a “fraud on the market,” and therefore

                                  16   questions regarding whether misleading conduct occurred, whether that conduct occurred with the

                                  17   requisite scienter, and whether that conduct caused investors to suffer losses predominate over

                                  18   individual questions. Further, Plaintiff asserts that it is entitled to the presumption of class-wide

                                  19   reliance under the fraud-on-the-market doctrine. Finally, Plaintiff asserts that a class action is

                                  20   superior to a multitude of individual actions.

                                  21           Defendants raise two arguments in opposition. First, Defendants contend that the proposed

                                  22   Class is overbroad to the extent it includes persons who traded millions of shares on the morning

                                  23   of December 2nd before Gertel spoke during the Credit Suisse Technology Conference call at

                                  24   approximately18:08:38 GMT (1:08:38 p.m. Eastern Time). Second, Defendants seek to rebut the

                                  25   presumption of reliance by showing that Gertel’s alleged misrepresentations had no impact on

                                  26   Finisar stock price. Because the Court finds Defendants’ second argument persuasive for the

                                  27   reasons set forth below, the Court finds it unnecessary to consider the first argument regarding the

                                  28                                     7
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                         Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 8 of 15




                                   1   breadth of the proposed Class.

                                   2

                                   3                                       Predominance Requirement

                                   4          Rule 23(b)(3) requires in pertinent part that “the questions of law or fact common to class

                                   5   members predominate over any questions affecting only individual members.” Fed.R.Civ.P.

                                   6   23(b)(3). Here, the parties dispute whether the element of reliance raises questions of law or fact

                                   7   common to the class. Plaintiff contends that class-wide issues predominate over individualized

                                   8   issues on the element of reliance because class members are entitled to a presumption of reliance

                                   9   based upon the fraud-on-the-market theory.

                                  10          The fraud-on-the-market theory “facilitates class certification by recognizing a rebuttable

                                  11   presumption of class wide reliance on public, material misrepresentations when shares are traded

                                  12   in an efficient market.” Amgen, 568 U.S. at 463. “Absent the fraud-on-the market theory, the
Northern District of California
 United States District Court




                                  13   requirement that Rule 10b-5 plaintiffs establish reliance would ordinarily preclude certification of

                                  14   a class action seeking money damages because individual reliance issues would overwhelm

                                  15   questions common to the class.” Id. at 462-463. To invoke the presumption of reliance based

                                  16   upon the fraud-on-the-market theory, a plaintiff seeking class certification must show: (1) the

                                  17   alleged misrepresentations were publicly known; (2) they were material; (3) the stock traded in an

                                  18   efficient market; and (4) the plaintiff traded stock between the time the misrepresentations were

                                  19   made and when the truth was revealed. Halliburton Co v. Erica P. John Fund, Inc., 134 S.Ct. 2398

                                  20   (2014) (“ Halliburton II”) (citing Basic v. Levinson, 485 U.S. 224, 248, n.27 (1988)). The first

                                  21   three requirements “are directed at price impact – ‘whether the alleged misrepresentations affected

                                  22   the market price in the first place.’” Halliburton II, 134 S.Ct. at 2414. “In the absence of price

                                  23   impact, Basic’s fraud-on-the-market theory and presumption of reliance collapse.” Id.

                                  24          Here, Plaintiff has made a sufficient showing to invoke the fraud-on-the-market

                                  25   presumption of reliance. Plaintiff’s expert, Michael L. Hartzmark, Ph.D. (“Hartzmark”), opines

                                  26   that the Finisar stock traded on an open, well-developed, and efficient market. Defendants do not

                                  27   dispute the sufficiency of Plaintiff’s showing. Rather, Defendants seek to rebut the presumption

                                  28                                     8
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                           Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 9 of 15




                                   1   of reliance based on evidence that Gertel’s alleged misstatement had no impact on Finisar’s stock

                                   2   price.

                                   3            “Because the presumption’s efficient market analysis is only an ‘indirect proxy for price

                                   4   impact,’ it must give way to direct ‘evidence showing that the alleged misrepresentation did not

                                   5   actually affect the stock’s market price. . . .’” Hatamian, 2016 WL 1042502, at *6 (N.D. Cal.

                                   6   March 16, 2016) (quoting Halliburton II, 134 S.Ct. at 2415-16). “If [d]efendants show that the

                                   7   alleged misrepresentation did not affect the stock’s price, then the Basic presumption will not

                                   8   apply.” Id. (citing Halliburton II, 134 S.Ct. at 2416); see also Basic Inc. v. Levinson, 485 U.S. at

                                   9   248 (“Any showing that severs the link between the alleged misrepresentation and either the price

                                  10   received (or paid) by the plaintiff, or his decision to trade at a fair market price, will be sufficient

                                  11   to rebut the presumption of reliance.”). Defendants bear the burden of production and the burden

                                  12   of persuasion on the issue of price impact. See Erica P. John Fund, Inc. v. Halliburton Co., 309
Northern District of California
 United States District Court




                                  13   F.R.D. 251, 260 (N.D. Tex. 2015) (“Halliburton Tex.”); see also Waggoner v. Barclays PLC, No.

                                  14   16-1912, 2017 WL 5077355, at *37 (2nd Cir. Nov. 6, 2017).

                                  15            Defendants contend that Gertel’s December 2nd statement did not cause the $3.29 increase

                                  16   in stock price from $19.77 at the close of trading on December 1st to $23.06 at the close of trading

                                  17   on December 2nd. Defendants’ argument is supported by the event study conducted by their

                                  18   expert, Dr. Alexander Aganin (“Aganin”). Aganin’s report shows that after the market closed on

                                  19   December 1st, Finisar issued a press release announcing its final unaudited results for its Second

                                  20   Quarter of Fiscal Year 2011 and its forecast for its Third Quarter of Fiscal Year 2011. Finisar

                                  21   management also held a conference call. According to Aganin, Finisar’s stock price increased

                                  22   after the aftermarket dissemination of the unchallenged2 December 1st statement to open on

                                  23   December 2nd at $21.12 per share, which was $1.35 above the $19.77 closing price on December

                                  24   1st. Thereafter, Finisar’s stock price continued increasing during the morning trading hours to

                                  25
                                       2
                                  26    Neither the December 1st press release nor the conference call are alleged to contain false or
                                       misleading statements. Plaintiff’s initial complaint, however, alleged that Finisar made false and
                                  27   misleading statements in the December 1st press release and conference call. Consolidated
                                       Complaint (filed Jan. 20, 2012).
                                  28                                                     9
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                           Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 10 of 15




                                   1   reach $22.81 per share before Gertel made any public statements on December 2nd.

                                   2           In conducting his study, Aganin assumes that if Gertel’s statements had an impact on

                                   3   Finisar’s stock price as alleged by Plaintiff, “one would expect this impact to be discernible in

                                   4   Finisar’s stock price by the time of 4:00 PM EST, market close on December 2, 2010

                                   5   (approximately 3 trading hours after the statements were made).” Expert Report of Alexander

                                   6   Aganin, Ph.D., attached as Exhibit 1 to Decl. of David Priebe (Dkt. 136-2), p. 11. According to

                                   7   Aganin’s calculation, Finisar’s stock price increased 1.14% between the time Gertel made his

                                   8   public statements and the close of trading on December 2nd. During that same time frame, the

                                   9   SPDR S&P 500 (“SPY”) increased 0.13% and the industry index3 increased 1.07%. Aganin

                                  10   opines that Finisar’s residual return was 0.65% and was not statistically significant.

                                  11           Aganin also evaluates whether there was any evidence of price impact by the end of the

                                  12   next trading day, December 3, 2010, when Finisar stock price closed at $24.01. Id. According to
Northern District of California
 United States District Court




                                  13   Aganin’s calculation, Finisar’s stock price increased 5.39% between the time Gertel made his

                                  14   public statements and the close of trading on December 3, 2010. During that same time frame, the

                                  15   SPY increased 0.38% and the industry index increased 5.84%. Aganin opines that Finisar’s

                                  16   residual return was -0.25% and was not statistically significant. In summary, based upon the event

                                  17   study, Aganin opines that any increase in stock price after Gertel made his public statements,

                                  18   whether compared to the closing price on December 2nd or December 3rd, 2010, was not

                                  19   statistically significant when the price is adjusted for general market and industry trading.

                                  20           Plaintiff’s expert, Hartzmark, does not provide any evidence about the stock price at the

                                  21   time Gertel made the challenged statements, and his event study does not segregate the effect of

                                  22   the December 1st information that was in the market on December 2nd before Gertel’s statements

                                  23   from the effect, if any, of Gertel’s statements.4 Instead, Plaintiff argues that Aganin’s study is

                                  24
                                       3
                                  25     Aganin’s industry index was an equal-weighted index of stock returns of four of Finisar’s
                                       competitors: JDS Uniphase Corp., Oplink Communications, Inc., Oclaro, Inc. and Opnext, Inc.
                                       4
                                  26     In his rebuttal report, Hartzmark offers a new analysis in an attempt to show a statistically
                                       significant stock price change after Gertel’s December 2nd statement. The Court rejects
                                  27   Hartzmark’s analysis because he does not test for statistically significant stock price changes
                                       during the December 2nd trading day.
                                  28                                                     10
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                        Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 11 of 15




                                   1   flawed for various reasons. First, Plaintiff contends that Aganin failed to conduct a complete,

                                   2   affirmative price impact analysis, and therefore Aganin’s conclusions are incorrect. As explained

                                   3   in Hartzmark’s rebuttal report, to conduct an affirmative economic price impact analysis, an expert

                                   4   assumes that a misstatement represents new information entering the market, and then uses a

                                   5   statistical analysis “in combination with the analysis of news reports, analyst evaluations and firm

                                   6   specific financial information” to isolate the impact of the misstatements relative to other

                                   7   disclosures that are contemporaneously revealed.” Rebuttal Report of Michael L. Hartzmark,

                                   8   Ph.D., attached as Exhibit B to the Supp. Decl. of Ian D. Berg (Dkt. 141). Hartzmark’s rebuttal

                                   9   report tracks the continuing rise of Finisar’s stock from December 2nd to March 8, 2011, the date

                                  10   Finisar allegedly issued a corrective statement, in combination with analyst reports issued on

                                  11   December 13 and 15, 2010, January 6, 2011, and February 4, 2011. Hartzmark reasons that after

                                  12   Gertel’s statements on December 2nd, analysts and investors evaluated the prospects of Finisar
Northern District of California
 United States District Court




                                  13   through a more optimistic lens. According to Hartzmark, the increase in Finisar’s stock price from

                                  14   December 2nd until the corrective disclosure on March 8, 2011 is consistent with his conclusion

                                  15   that there is a price impact.

                                  16           The Court rejects the notion that the analyst reports show a delayed price impact of the

                                  17   December 2nd statement. “An efficient market is said to digest or impound news into the stock

                                  18   price in a matter of minutes.” Halliburton Tex., 309 F.R.D. at 269. The analyst reports relied

                                  19   upon by Hartzmark were issued weeks and months after Gertel’s December 2nd statements and do

                                  20   not refer to Gertel’s December 2nd statements. Furthermore, Defendants cannot be held liable for

                                  21   any affect the analyst reports may have had on the price of Finisar stock in the absence of evidence

                                  22   that Defendants exercised control over the content of those analyst reports. See Janus Capital

                                  23   Group, Inc. v. First Derivative Traders, 564 U.S. 135, 144 (2011).

                                  24           Second, Plaintiff contends that Aganin’s report is flawed insofar as it fails to consider

                                  25   Finisar’s stock price change following the allegedly corrective disclosure of March 8, 2011.

                                  26   According to Plaintiff, Finisar’s stock price fell from $40.04 per share on March 8, 2011 to close

                                  27   at $24.61 on March 9, 2011. Plaintiff is correct that for purposes of price impact analysis, courts

                                  28                                     11
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                        Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 12 of 15




                                   1   have focused on the corrective disclosure date in certain cases. See e.g. Halliburton Tex., 309

                                   2   F.R.D. at 262 (“Measuring price change at the time of the corrective disclosure, rather than at the

                                   3   time of the corresponding misrepresentation, allows for the fact that many alleged

                                   4   misrepresentations conceal a truth.”); Hatamian v. Advanced Micro Devices, Inc., 2016 WL

                                   5   1042502, at *7 (“Price impact in a securities fraud case is not measured solely by price increase on

                                   6   the date of a misstatement; it can be quantified by decline in price when the truth is revealed.”); In

                                   7   re Intuitive Surgical Sec. Litig., 2016 WL7425926, *13 (N.D. Cal. Dec. 22, 2016) (“In conducting

                                   8   this analysis, the court will focus on changes in the stock price with respect to the corrective

                                   9   disclosure dates, as opposed to the misrepresentations alleged, because this method more

                                  10   accurately captures the impact, if any, of a material misrepresentation or omission.”). Neither the

                                  11   Supreme Court nor the Ninth Circuit, however, has addressed the relative importance of the date

                                  12   of the alleged misstatement as compared to the date of the corrective statement in analyzing price
Northern District of California
 United States District Court




                                  13   impact and the issue is open to debate. The absence of controlling caselaw on this specific issue

                                  14   allows Defendants to make “[a]ny showing that severs the link between the alleged

                                  15   misrepresentation and either the price received (or paid) by the plaintiff, or his decision to trade at

                                  16   a fair market price, [which] will be sufficient to rebut the presumption of reliance.” Basic Inc. v.

                                  17   Levinson, 485 U.S. at 248. The Court accordingly finds no flaw in Aganin’s analysis simply

                                  18   because it focuses on the date of the alleged misstatement rather than the date of the alleged

                                  19   corrective disclosure. Furthermore, Aganin’s analysis focusing on the date of alleged

                                  20   misstatement is supported by a relatively recent decision by the Eighth Circuit. See IBEW Local

                                  21   98 Pension Fund v. Best Buy Co., 818 F.3d 775 (8th Cir. 2016) (overwhelming evidence of no

                                  22   “front-end” price impact at the time of the alleged misstatement rebutted the Basic presumption).

                                  23          Whether Aganin’s showing is sufficient to sever the link between the alleged

                                  24   misrepresentation and the price received or paid by Plaintiff is a separate issue. Plaintiff contends

                                  25   that courts have inferred price impact from an alleged corrective disclosure even where, as in the

                                  26   present case, an alleged misstatement arguably has no price impact. See e.g. Hatamian, 2016 WL

                                  27   1042502, *7. One stated rationale for focusing on the date of the corrective disclosure rather than

                                  28                                     12
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                        Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 13 of 15




                                   1   the date of the alleged misstatement or omission is that “misstatements are not made in a vacuum

                                   2   and other information can offset or confound the effects of a particular misrepresentation.” Id.

                                   3   There is, however, no evidence in the present case of any information in the market that may have

                                   4   offset or confounded the effects of Gertel’s alleged misrepresentations. To the contrary, there is

                                   5   evidence that other information in the market before Gertel spoke, namely the December 1 press

                                   6   release and conference call, contributed to a price increase. Another stated rationale for focusing

                                   7   on the corrective disclosure date is that “a misstatement could serve to maintain the stock price at

                                   8   an artificially inflated level.” Id. Plaintiff in this case is not proceeding on a price maintenance

                                   9   theory, however.

                                  10          Notably, the Hatamian case is also factually distinguishable from the present case. In

                                  11   Hatamian, defendants’ own expert acknowledged that defendant’s stock price experienced

                                  12   statistically significant price increases on four days on which defendants had allegedly made 43
Northern District of California
 United States District Court




                                  13   (of the 125) misstatements and/or omissions, and defendants’ stock price experienced a

                                  14   statistically significant price decrease on every one of the five days defendants allegedly made

                                  15   corrective disclosures. In contrast, Aganin’s analysis shows no statistically significant price

                                  16   increase following Gertel’s December 2nd statements. Because the December 2nd statements had

                                  17   no price impact, it cannot be presumed that the March 8 disclosures revealed a latent price impact

                                  18   of Gertel’s statements. Furthermore, after Gertel’s statements and before the alleged corrective

                                  19   March 8th disclosure, several analyst reports were issued. These reports constitute new

                                  20   information that “severs the link” between Gertel’s December 2nd statements and any increase in

                                  21   Finisar’s stock.

                                  22           Third, Plaintiff argues that Aganin’s methodology contained three critical errors resulting

                                  23   in a flawed empirical analysis: (1) a flawed regression specification; (2) improper selection of two

                                  24   discrete points in time (“time frame”) to evaluate price movement and statistical significance; and

                                  25   (3) an econometric error resulting from a biased “industry” index that lacks independence from

                                  26   Finisar’s return and is influenced by Finisar-specific news. See Hartzmark Rebuttal Report, ¶¶10,

                                  27   15-43. When these purported errors are corrected, Plaintiff contends that the evidence shows a

                                  28                                     13
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                        Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 14 of 15




                                   1   price increase following Gertel’s statements that was statistically significant.

                                   2          With respect to the regression specification, Plaintiff contends that the Aganin Report is

                                   3   unreliable because Aganin erred in failing to use dummy variables to exclude seven dates when

                                   4   Finisar announced preliminary and actual earnings, an acquisition, and Finisar’s secondary

                                   5   offering. Aganin clarifies in his Rebuttal Report that he ran his regression with and without

                                   6   dummy variables and the results did not change. Aganin Rebuttal Report, ¶50. Furthermore,

                                   7   Aganin reran his event study excluding the seven dates. The results confirm Aganin’s opinion that

                                   8   Gertel’s statements on December 2nd did not result in statistically significant increase of Finisar’s

                                   9   stock price on December 2 or 3, 2010. Aganin Rebuttal Report, ¶¶56-57. The Court is persuaded

                                  10   by Aganin’s rebuttal on these points.

                                  11          Plaintiff’s criticism of the time frame used in Aganin’s analysis is also unpersuasive. “An

                                  12   efficient market is said to digest or impound news into the stock price in a matter of minutes.”
Northern District of California
 United States District Court




                                  13   Halliburton Tex., 309 F.R.D. at 269. Further, the time frame selected by Aganin is supported by

                                  14   an academic study by James Patell and Mark Wolfson, “The Intraday Speed of Adjustment of

                                  15   Stock Prices to Earnings and Dividend Announcements,” Journal of Financial Economics 13, no.

                                  16   2 (June 1984).

                                  17          Finally, with respect to the industry indices, Aganin used two indices: the SPY and an

                                  18   index of four competitors of Finisar. Hartzmark does not object to the use of the SPY nor to the

                                  19   use of industry indices in general. According to Hartzmark, however, Aganin’s index of four

                                  20   competitors was too narrow to fully account for industry-wide effects. Hartzmark contends that

                                  21   Aganin should have included a larger group of companies in the telecom industry, including

                                  22   customers and suppliers. Hartzmark opines that an appropriate index would be iShares U.S.

                                  23   Telecommunication ETF. Hartzmark Rebuttal Report, ¶48, n.62.

                                  24          In his rebuttal report, Aganin explains that Hartzmark’s use of a broader index is

                                  25   methodologically unsound because good news for a major Finisar customer may be good news or

                                  26   bad news for Finisar and its peers. Aganin Rebuttal Report, ¶36. Aganin also states that an

                                  27   overbroad industry index fails to isolate the effect of issuer-specific information from information

                                  28                                     14
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                        Case 5:11-cv-01252-EJD Document 150 Filed 12/05/17 Page 15 of 15




                                   1   about the industry or market. Id., ¶¶36-37, 41-46. In any event, Aganin reran his event study

                                   2   using returns of both his index and the iShares U.S. Telecommunication ETF. The results show

                                   3   that none of the returns for the event windows ending on December 2, 2010 are statistically

                                   4   significant. Id., ¶38. Aganin concludes that the sensitivity analysis confirms that Gertel’s

                                   5   challenged statements did not result in a statistically significant increase of Finisar’s stock price on

                                   6   December 2 or 3, 2010. Id., ¶¶38-39. The Court finds Aganin’s conclusion persuasive.

                                   7   IV.    ORDER
                                   8          Defendants have rebutted the Basic presumption of fraud-on-the-market reliance by

                                   9   demonstrating through a preponderance of evidence that Gertel’s December 2nd statement had no

                                  10   price impact when made or thereafter. It follows that the predominance requirement for class

                                  11   certification has not been met. Accordingly, Plaintiff’s motion for class certification is DENIED.

                                  12          The hearing scheduled for December 7, 2017, is VACATED.
Northern District of California
 United States District Court




                                  13

                                  14          IT IS SO ORDERED.

                                  15   Dated: December 5, 2017

                                  16                                                     ______________________________________
                                                                                         EDWARD J. DAVILA
                                  17                                                     United States District Judge
                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28                                     15
                                       Case No.: 5:11-cv-01252-EJD
                                       ORDER DENYING PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
